       Case 1:21-cr-00382-PLF            Document 136            Filed 04/04/24   Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-0382-PLF
                                           )
CHRISTOPHER WARNAGIRIS,                    )
                                           )
         DEFENDANT.                        )
__________________________________________)

    MEMORANDUM OF LAW ON DEFINITION OF ACT OF PHYSICAL VIOLENCE
———————————————————————————————————————


        Count Six and Count Eight punish “an act of physical violence.” See 18 U.S.C. § 1752(a)

(4); 40 U.S.C. § 5104(e)(2)(F).

        The phrase “an act of physical violence”

is specifically defined in 40 U.S.C. § 5104(a)

(1) as “any act involving— (A) an assault or

other infliction or threat of infliction of death

or bodily harm on an individual; or (B) damage

to, or destruction of, real or personal property.”

        Count Eight, charged under 40 U.S.C. § 5104(e)(2)(F), requires the application of the

definition outlined in 40 U.S.C. § 5104(a)(1). See also United States v. DaSilva, 1:21-cr-00564-

CJN, ECF No. 76 at *17 (July 13, 2023).

        Count Six is charged under 18 U.S.C. § 1752(a)(4) and uses the same terminology to

describe a prohibited actus reus. There is no other definition in the U.S. Code of “an act of



                                                    PAGE 1 / 2
        Case 1:21-cr-00382-PLF                Document 136            Filed 04/04/24         Page 2 of 2




physical violence” other than the one in 40 U.S.C. § 5104(a)(1).1 No published opinions appear

to address this issue. Judge Nichols has applied the definition of an “act of physical violence”

from 40 U.S.C. § 5104(a)(1) to an offense charged under 18 U.S.C. § 1752(a)(4). See United

States v. DaSilva, 1:21-cr-00564-CJN, ECF No. 76 at *13 (July 13, 2023).

         Accordingly, the Defendant requests that the definition in 40 U.S.C. § 5104(a)(1) be

applied to Counts Six and Eight of his indictment.



                                                      Respectfully submitted,

                                                      By Counsel:

                                                             /s/
                                                      Marina Medvin, Esq.
                                                      Counsel for Defendant
                                                      MEDVIN LAW PLC
                                                      916 Prince Street
                                                      Alexandria, Virginia 22314
                                                      Tel: 888.886.4127
                                                      Email: contact@medvinlaw.com


                          CERTIFICATE OF SERVICE FOR CM/ECF
        I hereby certify that on April 4, 2024, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.
                                                        /s/
                                               Marina Medvin, Esq.




1 For additional context, the term “act of physical violence” appears in the U.S. Code four times, under 18 U.S.C. §
245, 18 U.S.C. § 1752, 30 U.S.C. § 245, and 40 U.S.C. § 5104. Other than in 40 U.S.C. § 5104, the term is not
defined elsewhere.

                                                       PAGE 2 / 2
